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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION

ADMIRAL INSURANCE COMPANY,                    )
                                              )
      Plaintiff,                              )
                                              )
v.                                            )    CIVIL ACTION FILE NO.
                                              )    _______________________
SHEET METAL MASTERS, INC. and                 )
WHITESELL-GREEN, INC.                         )
                                              )
      Defendants.                             )

             COMPLAINT FOR DECLARATORY JUDGMENT

      Plaintiff Admiral Insurance Company (“Admiral”) files this Complaint for

Declaratory Judgment.

                                    PARTIES

                                         1.

      Admiral is incorporated under the laws of Delaware with its principal place

of business in Arizona. Admiral seeks a declaration of its coverage obligations, if

any, owed to Sheet Metal Masters, Inc. (“SMM”) for claims asserted by Whitesell-

Green, Inc. (“WGI”). For purposes of federal court jurisdiction, Admiral is a

citizen of both Delaware and Arizona.




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                                          2.

      Defendant SMM is incorporated under the laws of Florida with its principal

place of business in Florida. It may be served through its registered agent, William

Cockrell, at 2150 Windham Dr., Molino (Escambia County), Florida 32577. For

purposes of federal court jurisdiction, SMM is a citizen of Florida.

                                          3.

      Defendant WGI is incorporated under the laws of Florida with its principal

place in Florida. WGI may be served through its registered agent, William K.

Whitesell, Jr., at 3881 N. Palafox St., Pensacola (Escambia County), Florida

32505. For purposes of federal court jurisdiction, WGI is a citizen of Florida.

                                 JURISDICTION

                                          4.

      There is complete diversity of citizenship between Admiral, who is a citizen

of Arizona and Delaware, and Defendants, who are citizens of Florida.

                                          5.

      The amount in controversy exceeds $75,000.

                                          6.

      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332.




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                                          7.

      A case or controversy exists to support Admiral’s claim for declaratory relief

under 28 U.S.C. § 2201.

                                          8.

      Venue is proper in the Pensacola Division of the Northern District of Florida

where both defendants reside. 28 U.S.C. § 1391(b).

                               LIABILITY FACTS

                                          9.

      On or about January 13, 2015, SMM entered into a subcontract with WGI,

the general contractor, to perform structural steel erection work at two buildings

that were used primarily for short-term residences at Corry Field Navy Air Station

in Pensacola, Florida. A true and complete copy of this subcontract, which is

referred to herein as the “Steel Erection Subcontract,” is attached as Exhibit A.

                                          10.

      The Steel Erection Subcontract was a labor-only contract under which WGI

provide the materials for SMM. Another subcontractor, E-Kelly, Inc., performed

framing work in conjunction with SMM to construct what was referred to as a

“progressive collapse system”.




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                                           11.

      Also on or about January 13, 2015, SMM entered into a contract with WGI

to install a standing seam metal roof and light gauge metal trusses. A true and

complete copy of this contract, which is referred as the “Roofing Subcontract,” is

attached as Exhibit B.

                                           12.

      SMM began to perform work under the Steel Erection Subcontract on or

around December 15, 2015. However, WGI’s slow delivery of necessary materials

and other problems with WGI’s management of the project impeded SMM’s

ability to perform the contracted work. As of April 30, 2016, therefore, SMM was

only able to install the steel tracks for studs to be installed for the shear walls and

had not performed any of its braced framing system work.

                                           13.

      Progress was made in the ensuing months on the progressive collapse system

and the brace framing system work. However, on or about November 21, 2016,

the engineer of record for the Naval Facilities Engineering Command Southeast

(“NAVFAC”) ordered that the progressive collapse system in the ceiling be

repaired, replaced and corrected, finding it to be unsatisfactory. Then, in January

2017, the NAVFAC engineer ordered the removal of drywall in a few areas so that

the braced framing system could be inspected. Upon inspection, the NAVFAC


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engineer ordered that all drywall over the entire braced framing system be removed

so that the braced framing system could be repaired, replaced and corrected.

                                         14.

      On February 16, 2017, WGI issued a formal notification of alleged defective

work relating to the progressive collapse system and the braced framing system.

WGI issued additional formal notices on February 23, 2017, March 3, 2017, and

April 5, 2017.

                                         15.

      SMM performed repair work on the progressive collapse system and the

braced framing system up to May 24, 2017 when WGI allowed SMM to cease

work on the Steel Erection Subcontract and retained other subcontractors to

remediate the progressive collapse system and the braced framing system. After

May 24, 2017, SMM performed work on the Roofing Subcontract only.

                                         16.

      According to WGI, the project was substantially completed on November

18, 2019, and the Navy accepted the two buildings on July 27, 2020.

                                         17.

      Meanwhile, WGI filed separate arbitration claims with the American

Arbitration Association against SMM and three other subcontractors that were

involved in the project: E. Kelly Enterprises, Inc.; Rudd & Son Welding, Inc.; and


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Ton, Inc. A true and complete copy of the arbitration claim against SMM, which

was filed on October 15, 2019 and assigned case number 02-19-0003-9880, is

attached as Exhibit C.

                                         18.

      In its original Statement of Claim, WGI asserted that SMM’s welding work

for the progressive collapse system and the braced framing system was defective

and incomplete and that SMM inadequately installed (or failed to install) hold

downs, hold down anchors, clips and strap plates/braces. WGI alleged that it was

necessary to perform substantial work to repair, replace and correct WGI’s

defective work which required removal of components of the project to access and

correct SMM’s defective work. WGI also asserted that SMM damaged other

components of the project, primarily while performing repairs and remediation

between December 2016 through May 24, 2017.

                                         19.

      WGI’s arbitration claims against the four subcontractors were consolidated.

On December 31, 2021, WGI filed a “Detailed Statement of Claim” against the

subcontractors, a true and complete copy of which is attached as Exhibit D.

                                         20.

      On May 16, 2022, the arbitrators issued an Interim Award, a true and

complete copy of which is attached as Exhibit E.


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                          COVERAGE PROVISIONS

                                          21.

      Admiral agreed to defend SMM pursuant to a reservation of rights under

three general liability insurance policies that were issued to SMM as the named

insured for the following periods:

      CA 000021399-01 for April 29, 2015 to April 29, 2016 (“2015 Policy”)
      CA 000021399-02 for April 29, 2016 to April 29, 2017 (“2016 Policy”)
      CA 000021399-03 for April 29, 2017 to April 29, 2018 (“2017 Policy)

True and complete copies of these policies are attached as Exhibits F, G and H.

                                          22.

      The Admiral policies were delivered in Florida and each provides a limit of

$1,000,000 per occurrence and $2,000,000 in the aggregate. Because their

operative provisions are the same with respect to SMM’s coverage, they are

occasionally referred to in the singular as the “Admiral Policy.”

                                          23.

      Under each policy, and in relevant part, Admiral agreed to “pay those sums

the insured becomes legally obligated to pay as damages because of … ‘property

damage’ to which this insurance applies.” To be covered, the “property damage”

must occur during the policy period and be caused by an “occurrence.” Further,

“property damage” is defined as “physical injury to tangible property” as well as

“loss of use of tangible property that has not been physically injured.” The term


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“occurrence” is defined as “an accident, including continuous or repeated exposure

to the substantially the same general harmful conditions.” Coverage for “property

damage” that falls within these provisions is subject to compliance with policy

conditions as well as exclusions.

                                          24.

      Under Exclusion (b) the insurance does not apply to:

             “Bodily injury” or “property damage” for which the
             insured is obligated to pay damages by reason of the
             assumption of liability in a contract or agreement. This
             exclusion does not apply to liability for damages:

             (1)   That the insured would have in the absence of the
                   contract or agreement; or

             (2)   Assumed in a contract or agreement that is an
                   “insured contract”, provided the “bodily injury” or
                   “property damage” occurs subsequent to the
                   execution of the contract or agreement. Solely for
                   the purposes of liability assumed in an “insured
                   contract” reasonable attorneys’ fees and necessary
                   litigation expenses incurred by or for a party other
                   than an insured are deemed to be damages because
                   of “bodily injury” or “property damage”, provided:

                   (a)    Liability to such party for, or for the cost of
                          that party’s defense has also been assumed
                          in the same “insured contract”; and

                   (b)    Such attorney’s fees and litigation expenses
                          are for defense of that party against civil or
                          alternative dispute resolution proceedings in
                          which damages to which this insurance
                          applies are being alleged.


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                                          25.

      The term “insured contract,” as incorporated into Exclusion (b), is

defined in pertinent part as follows:

             That part of any other contract or agreement pertaining to
             your business (including an indemnification of a
             municipality in connection with work performed for a
             municipality) under which you assume the tort liability of
             another party to pay for “bodily injury” or “property
             damage” to a third person or organization, provided the
             “bodily injury or “property damage” is caused, in whole
             or in part, by you or by those acting on your behalf.
             However, such part of a contract or agreement shall only
             be considered an “insured contract” to the extent your
             assumption of the tort liability is permitted by law. Tort
             liability means a liability that would be imposed by law
             in the absence of any contract or agreement.

                                          26.

       Under Exclusion (j) the insurance does not apply in pertinent part to:

             “Property damage” to:

                    *     *      *

             (5)    That particular part of real property on which you
                    or any contractors or subcontractors working
                    directly or indirectly on your behalf are performing
                    operations, if the “property damage” arises out of
                    these operations; or

             (6)    That particular part of any property that must be
                    restored, repaired or replaced because “your work”
                    was incorrectly performed on it.

                    *     *      *


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       Paragraph (6) of this exclusion does not apply to
       “property damage” included in the “products-completed
       operations hazard”.

                             27.

 The term “your work” is defined as follows:

       “Your work”:

       a.    Means:

             (1)   Work or operations performed by you or on
                   your behalf; and
             (2)   Materials, parts or equipment furnished in
                   connection with such work or operations.

       b.    Includes:

             (1)   Warranties or representations made at any
                   time with respect to the fitness, quality,
                   durability, performance or use of “your
                   work”; and
             (2)   The providing of or failure to provide
                   warnings or instructions.

                             28.

 “Products-completed operations hazard” is defined as follows:

       a.    Includes all “bodily injury” and “property damage”
             occurring away from premises you own or rent and
             arising out of “your product” or “your work”
             except:

             (1)   Products that are still in your physical
                   possession; or

             (2)   Work that has not yet been completed or
                   abandoned. However, “your work” will be

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                  deemed completed at the earliest of the
                  following times:

                  (a)   When all of the work called for in
                        your contract has been completed.

                  (b)   When all of the work to be done at the
                        job site has been completed if your
                        contract calls for work at more than
                        one job site.

                  (c)   When that part of the work done at a
                        job site has been put to its intended
                        use by any person or organization
                        other than another contractor or
                        subcontractor working on the same
                        project.

            Work that may need service, maintenance,
            correction, repair or replacement, but which is
            otherwise complete, will be treated as completed.

       b.   Does not include “bodily injury” or “property
            damage” arising out of:

            (1)   The transportation of property, unless the
                  injury or damage arises out of a condition in
                  or on a vehicle not owned or operated by
                  you, and that condition was created by the
                  “loading or unloading” of that vehicle by
                  any insured;

            (2)   The existence of tools, uninstalled
                  equipment or abandoned or unused
                  materials; or
            (3)   Products or operations for which the
                  classification, listed in the Declarations or in
                  a policy Schedule, states that products-
                  completed operations are subject to the
                  General Aggregate Limit.

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                             29.

 Under Exclusion (l) the insurance does not apply to:

       “Property damage” to “your work” arising out of it or
       any part of it and included in the “products-completed
       operations hazard”.
       This exclusion does not apply if the damaged work or the
       work out of which the damage arises was performed on
       your behalf by a subcontractor.

                             30.

 Under Exclusion (m) the insurance does not apply to:

       “Property damage” to “impaired property” or property
       that has not been physically injured, arising out of:

       (1)   A defect, deficiency, inadequacy or dangerous
             condition in “your product” or “your work”; or
       (2)   A delay or failure by you or anyone acting on your
             behalf to perform a contract or agreement in
             accordance with its terms.

       This exclusion does not apply to the loss of use of other
       property arising out of sudden and accidental physical
       injury to “your product” or “your work” after it has been
       put to its intended use.

                             31.

 The term “impaired property” is defined as follows:

       “Impaired property” means tangible property, other than
       “your product” or “your work”, that cannot be used or is
       less useful because:




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            a.    It incorporates “your product” or “your work” that
                  is known or thought to be deficient, inadequate or
                  dangerous; or
            b.    You have failed to fulfill the terms of a contract or
                  agreement;

            if such property can be restored to use by the repair,
            replacement, adjustment or removal of “your product” or
            “your work” or your fulfilling the terms of the contract or
            agreement.

                                   32.

      An endorsement entitled “SPECIAL EXCLUSIONS – JOINT FORM,”

modifies coverage to exclude claims for “pre-existing damage” as follows:

            This insurance does not apply to:

            1.    Any damages arising out of or related to “bodily
                  injury” or “property damage”, whether such
                  “bodily injury” or “property damage” is known or
                  unknown,

                  (a)    which first occurred prior to the inception
                         date of this policy (or the retroactive date of
                         this policy, if any; whichever is earlier); or

                  (b)    which are, or are alleged to be, in the
                         process of occurring as of the inception date
                         of the policy (or the retroactive date of this
                         policy, if any; whichever is earlier) even if
                         the “bodily injury” or “property damage”
                         continues during this policy period.

            2.    Any damages arising out of or related to “bodily
                  injury” or “property damage”, whether known or
                  unknown, which are in the process of settlement,
                  adjustment or “suit” as of the inception date of this
                  policy, if any; whichever is earlier).


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                We shall have no duty to defend any insured against any
                loss, claim, “suit”, or other proceeding alleging damages
                arising out of or related to “bodily injury” or “property
                damage” to which this endorsement applies.

This exclusion will be referred to herein as “the Pre-Existing Damage Exclusion.”

              DECLARATORY JUDGMENT REGARDING THE
            EXTENT OF ADMIRAL’S DUTY TO INDEMNIFY SMM

                                          33.

      Admiral incorporates by reference its allegations set forth in the preceding

paragraphs as though set forth specifically herein.

                                          34.

      Based on the facts and circumstances presented, Admiral seeks the following

declarations:

      (1)       The expenses incurred by WGI to repair, replace or correct SMM’s
                defective work, including expenses to access the work, do not
                constitute “property damage” under the Admiral Policy;

      (2)       Exclusions (j)(5), (j)(6), (l), and (m) apply so as to preclude coverage
                for damages awarded against SMM caused to other non-defective
                work or property of others;

      (3)       WGI’s claim against SMM for legal fees and expenses are not
                covered by the Admiral Policy;

      (4)       The Pre-Existing Damages Exclusion applies so as to limit Admiral’s
                coverage obligations, if any, to the terms of the policy period in
                which the damage first occurred; and

      (5)       The single occurrence limit of $1,000,000 would apply to Admiral’s
                coverage obligations, if any.



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                                        35.

      WHEREFORE, Admiral seeks a declaration of its obligations under all

terms, conditions and exclusions in the Admiral Policy (whether expressly

mentioned in this Complaint or not), as well as under relevant legal principles and

public policy concerns, with a jury to resolve all issues so triable.



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